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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9          SIRENA STYLES,                                    CASE NO. C20-0541-JCC
10                                Plaintiff,
                                                              MINUTE ORDER
11                 v.

12          MACY’S WEST STORES, INC.,
13                                Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on the parties’ joint status report (Dkt. No. 26). The

18 parties report that arbitration in this matter is currently scheduled to commence March 8, 2022.

19 Accordingly, the Court ORDERS the parties to submit a joint status report on the outcome of the

20 arbitration no later than April 8, 2022.

21          DATED this 1st day of November 2021.

22                                                         Ravi Subramanian
                                                           Clerk of Court
23
                                                           s/Sandra Rawski
24                                                         Deputy Clerk
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